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                                      In the United States District Court for the
                                     Northern District of Illinois, Eastern Division

                                                        ┐
Merced Rojas,                                           │
                                                        │
                    Plaintiff,                          │
                                                        │
                    vs.                                 ├ No.: 08 cv 5913
                                                        │
Town of Cicero, et al.,                                 │     Judge Holderman
                                                        │
                    Defendants.                         │
                                                        │
                                                        ┘

                       Defendants’ Motion for Sanctions Pursuant to 28 U.S.C. 1927,
                             Fed. R. Civ. P. 26(g)(3) and Fed. R. Civ. P. 37(c)

          The Town of Cicero and President Dominick move as follows:

                                                      Introduction

          During trial Plaintiff’s counsel Dana Kurtz engaged in, to quote this Court, “a repeated

pattern of misconduct…highly prejudicial to the defendants.” The misconduct was so pervasive a

new trial was ordered because of the unfair prejudice Ms Kurtz created. (Order of December 22,

2011, Docket no. 536) Pursuant to 28 U.S.C. § 1927 defendants respectfully request that this

Court order plaintiff’s counsel to satisfy the excess costs, expenses and attorney’s fees

reasonably incurred by them as a result of her acts.

          Defendants further move for sanctions pursuant to Fed. R. Civ. P. 26(g)(3) and 37(c) for

the failure to disclose in discovery that in April 2009 Rojas and his wife filed for bankruptcy. In

his bankruptcy Rojas advised the bankruptcy court, his creditors and the trustee that he had a

simple wrongful discharge claim for $150,000.00. Rojas did not reveal the real nature of this

lawsuit or the enormous sums of damages he was seeking. Rojas invoked an exemption under

Illinois law to shield his $150,000 wage claim from his creditors since, according to Rojas, the


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only damages he was pursuing in this litigation consisted solely of lost wages. Rojas also

reaffirmed the mortgage debt and automobile loan he claimed at trial had resulted in a

foreclosure action and an automobile repossession all, according to Rojas, because of

defendants’ wrongful acts.

         Rojas had an obligation pursuant to Fed. R. Civ. P. 26 to provide fulsome, complete and

timely answers to defendants’ interrogatories and production requests about his damages and his

involvement in legal matters like his bankruptcy1. He had an obligation to supplement his

discovery to reveal these legal proceedings to the defendants. Instead, Rojas’ responses omitted

the bankruptcy and the other legal matters he was involved in. This was done intentionally with

the involvement and participation of his lawyer in what can only be a scheme to defraud his

creditors and the trustee and deceive and perverse the course of justice in this case.

         In a stunning admission Ms Kurtz conceded in open court at the status on January 26,

2012 that she knew some time ago that Rojas had gone through bankruptcy. There is no

justification for Rojas’ discovery omissions.                 Ms Kurtz, who signed and certified Rojas

discovery responses pursuant to Fed. R. Civ. P. 26(g), either vouched for discovery answers she

knew were false or, just as inappropriately, after learning about her client’s bankruptcy, she took

no steps to correct the false discovery responses her client gave and that she had certified. Rojas

and his counsel should be barred from raising the issue of his reaffirmed debts at the re-trial and

should satisfy the costs, expenses and reasonable attorney’s fees brought in discovering this

information and bringing it to the Court’s attention.




1
   The court is already aware that Rojas claimed at trial that his house was in foreclosure. That legal proceeding on
his mortgage loan was never disclosed to the defense until it was blurted out at trial. In his bankruptcy filing Rojas
discloses he was a party to numerous other legal proceedings including other foreclosure actions that predated the
one he testified about at trial. None of these other legal proceedings were identified in Rojas’ discovery responses.


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       I.      Defendants Are Entitled to the Excess Costs, Expenses, and Attorney’s Fees
               Reasonably Incurred Due to Ms Kurtz’s Trial Misconduct

       28 U.S.C. § 1927 provides that “any attorney…who so multiplies the proceedings in any

case unreasonably and vexatiously may be required by the court to satisfy personally the excess

costs, expenses, and attorney’s fees reasonably incurred because of such conduct.” 28 U.S.C. §

1927. A district court may, in its discretion, impose sanctions pursuant to 28 U.S.C. § 1927 if an

attorney acts in an objectively unreasonable manner and engages in a serious and studied

disregard for the orderly process of justice. Jolly Group Ltd. v. Medline Indust., Inc., 435 F.3d

717, 720 (7th Cir. 2006); Tygris Asset Finance, Inc. v. Abboud, 2011 U.S. Dist. LEXIS 125877,

*8 (N.D. Ill. Nov. 1, 2011) (J. St. Eve) The objective standard is met with extremely negligent

conduct, like reckless and indifferent conduct. Dowe v. AMTRAK, 2004 U.S. Dist. LEXIS 9450,

*19 (N.D. Ill. May 26, 2004) (J. Kennelly). Sanctions under § 1927 are meant to compensate the

party that has been injured by a lawyer’s bad faith conduct and to compel the lawyer to bear the

costs of her own lack of care. Tillman v. Newline Cinema, 374 Fed. Appx. 664, 667 (7th Cir.

2010) In light of this Court’s finding that Ms Kurtz engaged in repeated misconduct requiring a

new trial, she should be required to satisfy the excess costs, expenses and attorney’s fees

reasonably incurred by the defendants.

       This Court has already found that Ms Kurtz acted in an objectively unreasonable manner

and engaged in a serious and studied disregard for the orderly process of justice. In its December

22, 2011 order granting a new trial the court found that plaintiff’s attorney Dana Kurtz engaged

in a repeated pattern of misconduct during trial. Rojas v. Town of Cicero, et al., 2011 U.S. Dist.

LEXIS 147867, *6-9 (N.D. Ill. Dec. 22, 2011) (J. Holderman). Ms Kurtz made inappropriate

comments in her opening statement, made repeated attempts to introduce inadmissible and

prejudicial evidence despite admonitions not to do so, made repeated inappropriate and bad faith



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attacks on President Dominick’s character, led Mrs. Rojas to volunteer unresponsive hearsay

evidence in an attempt to taint the jury, and further tainted the jury by arguing with the Court

over evidentiary issues despite repeated admonitions that Ms Kurtz refrain from doing so. Rojas

v. Town of Cicero, et al., 2011 U.S. Dist. LEXIS 147867, *6-9 (N.D. Ill. Dec. 22, 2011) (J.

Holderman). We now know too, from Ms Kurtz admissions in open court on January 26, 2012,

that she knew Rojas had gone bankrupt. She did not advise the court or defense counsel of this

significant fact. Courts have imposed 28 U.S.C. § 1927 sanctions for attorney misconduct in

these types of situations. See, e.g., Dowe v. AMTRAK, 2004 U.S. Dist. LEXIS 9450 (N.D. Ill.

May 26, 2004)(J. Kennelly) (imposing monetary sanctions against plaintiff’s counsel for

violating orders on motions in limine on multiple occasions during trial, prompting a mistrial);

see also B.K.B. v. Maui Police Dep’t, 276 F.3d 1091, 1107 (9th Cir. 2002) (affirming sanctions

for defense counsel’s knowing introduction of testimony in violation of Fed. R. Evid. 412) In

light of the record the court should impose sanctions and award defendants’ costs, expenses, and

reasonable attorney’s fees. Ms Kurtz must bear the cost of her intentional and calculated tactics.

        II.      Defendants Are Entitled to Sanctions Due to Discovery Violations

        A.       The Rojas Filed for Bankruptcy in 2009 but Did Not Disclose It

        Defendants discovered less than two weeks ago that in April 2009 the Rojases filed for

bankruptcy2. Plaintiff did not disclose his bankruptcy in discovery. Instead Rojas and his

counsel asserted to the jury that the home foreclosure and car repossession were defendants’ fault

even though Rojas reaffirmed these two debts in his 2009 bankruptcy case.                           In short, the

defendants and this Court were deceived about Rojas’ damages.

2
   Defense counsel first learned on January 12, 2012 that Rojas filed for bankruptcy when they also learned of the
bankruptcy of woman named Janidet Lujano. Ms Lujano did not reveal to the bankruptcy court that she had a
$2,500,000.00 federal lawsuit that was pending before Judge Bucklo (now before Magistrate Judge Ashman). Ms
Lujano’s discovery responses failed to reveal that she had filed for bankruptcy. Ms Kurtz represents Ms Lujano in
that lawsuit. Defense counsel in the Rojas case are also defense counsel in the Lujano case.


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         Fed. R. of Civ. P. 26(a)(1)(A) requires a party to turn over all documents that relate to

their claims and/or damages. Parties also have an ongoing duty to timely supplement discovery

if a prior disclosure or response is incomplete or incorrect and not otherwise been made known.

Fed. R. Civ. P. 26(e)(1)(A). Incomplete or evasive discovery answers are treated as a failure to

respond. Fed. R. Civ. P. 37(a)(4). The court, on motion and after giving an opportunity to be

heard, may impose appropriate sanctions including the payment of reasonable expenses,

including attorney’s fees, caused by the failure to disclose. Fed. R. Civ. P. 37(c)(1)(a)(A).

Rojas’ lack of candor should be sanctioned. He knew he had gone bankrupt when he testified

that the foreclosure action and car repossession – debts he reaffirmed - were due to the

defendants’ alleged misconduct.

         On July 28, 2009, when asked by the individual defendants in Interrogatory No. 3 to

disclose all lawsuits, claims and grievances within the last five years, Rojas averred – and Ms

Kurtz certified his answer pursuant to Rule 26(g)(1) – that Rojas’ initial version of this lawsuit,

Rojas v. Town of Cicero, 08 CV 445, was the only legal matter to which he had been a party.

See Exhibit 1, p. 2. It is now known from the bankruptcy petition that Rojas was involved in at

least three other legal matters in addition to the bankruptcy. Rojas had been in bankruptcy for

three months when he made that answer under oath. On August 5, 2009 Rojas told Cicero under

oath – again certified by Ms Kurtz pursuant to Rule 26(g) – that the only legal matter he was

involved in was the original suit he filed Rojas v. Town of Cicero, 08 CV 445. See Exhibit 2, p.

3.

         Defendants also sought all documents related to plaintiff’s damages including his income,

medical records and bills. Ms Kurtz signed the responses to the production requests pursuant to

Rule 26(g)(1). The Plaintiff should have produced his bankruptcy petition. See Plaintiff’s




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Response to Town of Cicero’s Request for Production of Documents No. 4 and Plaintiff’s

Response to the Individual Defendants’ Requests 1 and 2, attached as Exhibits 3 and 4,

respectively. The Rojas’ debts were discharged on September 18, 2009 (Exhibit 5). Plaintiff

never supplemented his discovery to correct his initial responses and reveal Rojas’ bankruptcy or

reaffirmed mortgage and car debts. He never corrected the prior answers to interrogatories to

reveal he was involved in at least three other legal matters in addition to the bankruptcy. Rojas’

Rule 26(a) disclosures, originally issued on August 11, 2009 and supplemented on April 28,

2010 were silent on the bankruptcy as well (Group Exhibit 6).

       Disclosure under Rule 26(a)(1) and all discovery responses must be signed by at least one

attorney of record, who by signing certifies that to the best of the attorney’s knowledge,

information and belief formed after a reasonable inquiry that they are complete and correct at the

time made and consistent with the Federal Rules of Civil Procedure. Fed. R. Civ. P. 26(g)(1)(A)-

(B). If a certification violates Fed. R. Civ. P. 26 without substantial justification, the court, on

motion or on its own, must impose an appropriate sanction on the signer, the party on whose

behalf the signer was acting, or both, and this order may include an order to pay reasonable

expenses, including attorney’s fees, caused by the violation. Fed. R. Civ. P. 26(g)(3). Ms Kurtz

was well aware of and no doubt had heightened sensitivity to the potentially fatal effect a

misleading bankruptcy filing could have on a bankrupt’s claims in an undisclosed federal

litigation. In Swearingen-El v. Cook County Sheriff’s Dep’t, 456 F. Supp. 2d 986 (N.D. Ill.

2006) Ms Kurtz defended a motion to dismiss her client’s lawsuit due to a bankruptcy filing that

failed to candidly reveal the nature of the federal claims Ms Kurtz’s client was pursuing against

the Cook County Sheriff. When Ms Kurtz learned that Rojas had gone bankrupt it is hard to

believe she would not have made detailed inquiry into the bankruptcy to make sure that this




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lawsuit was not impaired by a deceptive bankruptcy petition. She knew that the discovery

compliance was wrong. Rojas’ and Ms Kurtz’s lack of disclosure – initially or by supplementing

- that the bankruptcy occurred speaks volumes of what Mr. Rojas and Ms Kurtz were attempting

to get away with.

       The defendants were prejudiced and surprised by Plaintiff’s silence. Defendants were

kept in the dark about Rojas’ alleged automobile loan and residential mortgage ‘damages’ for

years until it was blurted out at trial and even then Rojas did not present the whole truth. As this

Court noted in its December 22, 2011 order, Rojas’ testimony on these issues created “improper

prejudicial additional sympathy for himself” and contributed to the misconduct warranting yet

another trial. It was not until after the new trial was ordered that defendants stumbled onto the

reality of Rojas’ debts being reaffirmed. It is also now known that Ms Kurtz knew about the

bankruptcy at some point but chose not to reveal it.

       The trial testimony establishes that the failure to disclose Rojas’ bankruptcy petition was

willful. Rojas made repeated (mis)representations concerning the purported 2010 foreclosure of

his home and the repossession of his automobile before the jury, pointedly omitting any mention

of the fact that when Rojas declared bankruptcy in April 2009 he reaffirmed the debts on these

properties – and therefore broke any causal connection between his current debts and the

defendants’ purported 2006 actions. (Exhibit 14) The court was very troubled by these blurts

and Ms Kurtz’s arguments, leading to direct questions from the defendants and the Court seeking

the details surrounding the Rojases’ mortgage and automobile. (TT 7/5/2011, 16:22-17:1; TT

7/6/2011, 141:2-147:15, 171:9-174:15, 175:2-15, 176:2-184:9) Furthermore, while plaintiff’s

counsel attempted to elicit sympathetic testimony as to whether Rojas hired an attorney for his

unemployment hearing upon his termination from the Town of Cicero, absolutely no mention




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was made of Rojas’ retention of a bankruptcy attorney to get relief from the debts that he was

alleging the defendants caused him to default on. (TT 7/6/2011, 161:3-12); Exhibit 7 at p. 2.

Plaintiff painted a carefully constructed – and incomplete – picture of his alleged losses through

discovery and trial to try to maximize his damages and prejudice the defendants by referencing

his debts but taking every precaution to omit any mention of his bankruptcy petition. The scope

of Ms Kurtz role in this scheme is yet to be determined.

       B.         Rojas’ Bankruptcy Petition Was Misleading In Describing This Lawsuit

       Rojas’ bankruptcy raises two serious issues that could dispose of this litigation. First

there is the question of whether he even has standing to prosecute this lawsuit. Second there is

an issue of judicial estoppel because Rojas’ bankruptcy filing is inconsistent with the claims he is

asserting here.

       On October 15, 2008 Rojas filed this suit alleging racial discrimination and First

Amendment retaliation causes of action. See ¶ 1 of Rojas’ complaint, attached and incorporated

as Exhibit 8. Both claims were brought pursuant to 42 U.S.C. § 1983. Rojas maintains he

suffered great mental anguish, humiliation, degradation, physical and emotional pain and

suffering, inconvenience, lost wages and benefits, future pecuniary losses and other

consequential losses. See Exhibit 8 at ¶¶21, 26, 33. Rojas sought to recover his lost wages,

future wages and benefits, compensatory damages for emotional pain and suffering, loss of a

normal life, damage to his marriage, punitive damages, pre-judgment interest and an award of

reasonable attorneys’ fees, costs, and litigation expenses on each claim. See Exhibit 8 at pp. 5-7;

see also Rojas’ Supplemented Answer to Individual Defendants’ Interrogatory No. 2, attached

and incorporated herein as Exhibit 9.




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       Rojas Chapter 7 petition for bankruptcy (“Petition”) in the United States Bankruptcy

Court for the Northern District of Illinois (Exhibit 7) paints a starkly different picture of the

claims he has been pursuing. In his original and amended Schedule B of his Petition Rojas

mischaracterized his claim as one for a simple “wrongful discharge” with a value of

$150,000.00. See Group Exhibit 10.         In his original and amended Schedule C Rojas falsely

asserted this claim was exempt from his creditors pursuant to 735 ILCS 5/12-803 and 740 ILCS

170/4 because it consisted solely of wages. Rojas did not disclose in his Petition that he was also

seeking non-exempt money damages for emotional suffering, loss of reputation, damage to his

marriage, attorney’s fees and punitive damages. See Group Exhibit 11.

       The Rojases also did not disclose the scope and nature of this lawsuit on their bankruptcy

‘statement of financial affairs’ which required them to list all suits to which the debtor “is or was

a party within one year immediately proceeding the filing of this bankruptcy case.” (Exhibit 12

at pp. 2-3) (emphasis in original)      This lawsuit was already pending when they filed for

bankruptcy. Rojas said he only had an exempt lost wage claim, not a full blown lawsuit with

hundreds of thousands of dollars of non-exempt damages. The Rojases averred their bankruptcy

petition, schedules and summaries to be true and correct under penalty of perjury. (Exhibit 13)

They clearly were not.

       1.      The Standing Question

       The fact that Rojas went bankrupt should impact the pending re-trial. It is likely it would

have eliminated the July 2011 trial from proceeding in the first place. Defendants are preparing

additional motions based on the contents of Rojas’ bankruptcy petition because he did not have

standing to have maintain this action after the April 2009 bankruptcy.




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       The question of standing is whether the litigant is entitled to have the court decide the

merits of the dispute. Esparza v. Costco Wholesale Corp., 2011 U.S. Dist. LEXIS 148622, *7

(N.D. Ill. Dec. 28, 2011) (J. Aspen) (citing Warth v. Seldin, 422 U.S. 490, 498 (1975)) The

plaintiff - the party invoking federal jurisdiction - bears the burden of establishing standing.

Esparza, 2011 U.S. Dist. LEXIS 148622 at *7 (citing Lee v. City of Chicago, 330 456, 468 (7th

Cir. 2003)) Standing must be present at all stages of the litigation and can be attacked at any

time. Id.

       When a bankruptcy petition is filed, virtually all property of the debtor becomes property

of the bankruptcy estate. Matter of Yonikus, 996 F.2d 866, 869 (7th Cir. 1993); Esparza v.

Costco Wholesale Corp., 2011 U.S. Dist. LEXIS 148622 at *8. Section 541 of the Bankruptcy

Code defines “property” broadly to include all of the debtor’s interests both legal and equitable.

Id.; 11 U.S.C. § 541. Every conceivable interest of the debtor is within reach of § 541, including

“future, non-possessory, contingent, speculative and derivative” ones. Esparza, 2011 U.S. Dist.

LEXIS at *8. The definition in the Bankruptcy Code of property belonging to the debtor’s estate

has been uniformly interpreted to include causes of action. Esparza, 2011 U.S. Dist. LEXIS

14822, *8 (citing In re Polis, 217 F.3d 899, 901 (7th Cir. 2000)) Therefore, once a plaintiff files

for Chapter 7 bankruptcy, only the bankruptcy trustee has the capacity to sue and be sued. Id.

(citing Cable v. Ivy Tech State College, 200 F.3d 467, 472 (7th Cir. 1999)). Rojas’ causes of

action and his damages became part of the bankruptcy estate, making the bankruptcy trustee the

true owner of the claims and damages. Rojas would have been “merely an interloper, trying to

prosecute a claim that belongs to his estate in bankruptcy.” Biesek v. Soo Line R.R. Co., 440

F.3d 410, 413 (7th Cir. 2006)




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       2.      The Judicial Estoppel Question

       Rojas listed and mischaracterized the sole claim he had as a simple “wrongful discharge”

claim with a value of $150,000.00. See Exhibit 10.      Rojas falsely asserted that the proceeds of

this claim were exempt because they consisted solely of wages. Rojas never disclosed he was

pursuing a racial discrimination claim. Rojas did not reveal he had a claim for First Amendment

retaliation for his family’s political speech. He never mentioned he was seeking damages for

emotional harm and injury.      He did not tell the bankruptcy court that he was suing for

compensation for the alleged damage the defendants allegedly caused his marriage, his

reputation or his loss of the enjoyment of life. He did not reveal in his Petition the attorney’s

fees or punitive damages he was seeking. None of these extensive claims or the alleged damages

would have been purportedly exempt like his lost wages. The statements in his bankruptcy

petition prevent Rojas from making contrary and different claims in this litigation.

       Judicial estoppel exists to prevent the perversion of the judicial process by a debtor in

bankruptcy who fails to reveal a chose in action or other legal claim, so they cannot realize a

recovery on that concealed asset after the bankruptcy ends. Cannon-Stokes v. Potter, 453 F.3d

446, 447-48 (7th Cir. 2006) (affirming summary judgment on the doctrine of judicial estoppel

against a plaintiff who filed a Chapter 7 bankruptcy petition asserting she had no valuable legal

assets while pursuing at the same time an administrative claim for $300,000 and then filing her

federal lawsuit after her bankruptcy was concluded). Multiple jurisdictions recognize that a

debtor that receives a discharge – and therefore a personal financial benefit – by representing that

he has no valuable choses in action cannot turn around after the bankruptcy ends and recover on

a supposedly nonexistent claim. Biesek v. Soo Line R.R. Co., 440 F.3d 410, 412 (7th Cir. 2006)

(affirming summary judgment against a plaintiff who was discharged from bankruptcy while




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pursuing compensation from his employer under the Federal Employer Liability’s Act after

plaintiff failed to reveal this potential recovery in his bankruptcy schedules); see also Esparza v.

Costco Wholesale Corp., 2011 U.S. Dist. LEXIS 148622 (N.D. Ill. Dec. 28, 2011) (J. Aspen)

(granting defendant leave to file amended affirmative defenses to cover standing and judicial

estoppel as well as granting defendants’ subsequent motion for summary judgment in light of the

plaintiff’s omission of her cause of action on her Chapter 7 petition and her eleventh-hour

attempt to correct the fraudulent bankruptcy petition). Rojas’ deceptive and artful description of

his claim in his Petition as being a simple – and exempt under Illinois law - wage claim and not

revealing that it encompassed enormous sums of not exempt non-wage damages should raise

judicial estoppel issues barring him from prosecuting this claim.

       Wherefore the defendants respectfully request that this Court order Dana Kurtz to satisfy

defendants’ costs, expenses and attorneys’ fees incurred as a result of her misconduct pursuant to

28 U.S.C. § 1927, that this Court bar any reference to Rojas’ reaffirmed debts or their subsequent

course at the upcoming trial, order appropriate costs, expenses and attorney’s fees to be awarded

to defendants pursuant to Fed. R. Civ. P. 26(g)(3) and 37(c)(1) and enter such other and further

relief the court determines is warranted under the circumstances.

January 26, 2012                                     President Dominick, defendant

                                                     s/ Craig D. Tobin
                                                     Attorney for President Dominick

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                                                              The Town of Cicero, defendant

                                                              By: s/ Austin Zimmer
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                                                     Certificate of Service

          I hereby certify that I served the foregoing using the court’s CM/ECF system which will

send notification of such filing to the counsel of record.

January 26, 2012                                                         s/ Craig D. Tobin

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